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                  IN THE UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

LEV OMELCHENKO,

             Plaintiff,
                                                       CIVIL CASE NO.:
             v.

CITY OF ATLANTA,
LIEUTENANT DESMOND FLOYD,
in his individual capacity,
and
OFFICER CARL MILLER,
in his individual capacity,

             Defendants.



                          COMPLAINT FOR DAMAGES

      COMES NOW Lev Omelchenko, a Plaintiff in the above styled action and

files this his Complaint for Damages.

      This is a civil rights action under 42 U.S.C. § 1983, the First, Fourth and

Fourteenth Amendments to the United States Constitution and Georgia law. Lev

Omelchenko (“the Plaintiff”) alleges that he was illegally and unconstitutionally



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detained and arrested by Defendant Officers Carl Miller of the City of Atlanta

Police Department, and Lieutenant Desmond Floyd, and maliciously prosecuted in

violation of the Fourth Amendment of the United States Constitution and Georgia

law. Plaintiff also alleges that he was arrested and prosecuted in retaliation for the

exercise of his First Amendment rights, that his constitutional right to film was

violated, and that Defendant City of Atlanta has an unconstitutional policy and

practice of providing inadequate training to its officers which resulted in the false

arrest and malicious prosecution that is the subject of this suit. Finally, Plaintiff

alleges that a final policy maker within the City of Atlanta – Lieutenant Desmond

Floyd - ordered the arrest of the Plaintiff and insisted on his prosecution as a result

of Plaintiff’s First Amendment protected activity.

                                       PARTIES

                                           1.

      Plaintiff Lev Omelchenko is a resident of the State of Georgia, United States

citizen, and over the age of eighteen.




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                                          2.

      Defendant Carl Miller is an Officer employed by the City of Atlanta Police

Department. The headquarters of the City of Atlanta Police Department are located

at 226 Peachtree St SW, Atlanta GA 30303 in Fulton County, Georgia. Defendant

Carl Miller may be served at this address. At all times relevant to this lawsuit,

Defendant Carl Miller acted under the color of law. Defendant Carl Miller is sued

in his individual capacity.

                                          3.

      Defendant Desmond Floyd is a Lieutenant employed by the City of Atlanta

Police Department. The headquarters of the City of Atlanta Police Department are

located at 226 Peachtree St SW, Atlanta GA 30303 in Fulton County, Georgia.

Defendant Desmond Floyd may be served at this address. At all times relevant to

this lawsuit, Defendant Desmond Floyd acted under the color of law. Defendant

Desmond Floyd is sued in his individual capacity.

                                          4.

      Defendant City of Atlanta (“the City”) is a political subdivision of the State

of Georgia, which has the capacity to sue and be sued. The City can be served at:


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55 Trinity Ave. SW, Atlanta GA 30303. At all times relevant to this lawsuit,

Defendant City of Atlanta acted under the color of law.

                                         5.

      All defendants reside in the Northern District of Georgia.



                         JURISDICTION AND VENUE

                                         6.

      This case presents a federal question and this Court has subject matter

jurisdiction under 28 U.S.C. § 1331.

                                         7.

      Under 28 U.S.C. §§ 1331 and 1343(a)(3)&(4), the Court can entertain an

action to redress a deprivation of rights guaranteed by the United States

Constitution, and the Court has jurisdiction under 28 U.S.C. § 1367 to hear an

action to redress a deprivation of rights guaranteed by the laws and the

Constitution of the State of Georgia.

                                         8.

      This Court has personal jurisdiction of the Defendants under 28 U.S.C. §


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1367 and GA. CONST., art. I, § 1, ¶¶ V, XIII.

                                           9.

      Venue is proper in the Northern District of Georgia under 28 U.S.C. §

1391(b) because all actions complained of occurred within the boundaries of this

judicial district and Defendants reside within this district.

                                          10.

      All of the parties herein are subject to the jurisdiction of this Court.

                                          11.

      Attorney’s fees are authorized under 42 U.S.C. § 1988.



                            FACTUAL ALLEGATIONS

                                          12.

      On September 8, 2021 a small group of about 12 individuals held a peaceful

protest in front of then City Councilwoman Natalyn Archibong’s house. Plaintiff

Lev Omelchenko was present at the site of this protest but did not participate in the

protest itself. Mr. Omelchenko was not chanting but was present in his role as a

filmmaker to film the protest. Plaintiff Omelchenko worked as a freelance /


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independent documentary filmmaker. In the past he worked with More Perfect

Union covering labor rights, as well as Al Jazeera. Mr. Omelchenko is currently a

member of the NPPA (National Press Photographers Association).

                                          13.

      The protest in question which Mr. Omelchenko was filming was held to

express the protesters’ views regarding the proposed construction of a police

training facility (also referred to as “Cop City”) and City Council’s vote related to

this highly controversial political matter.

                                          14.

      The protesters were holding cardboard signs and chanting. All protesters

made a conscious and deliberate effort to stand as close to the curb of the street as

possible in order not to obstruct any traffic while at the same time also not stepping

on the grass. This was done in order to diligently comply with the pedestrian in the

roadway statute (OCGA Sec. 40-6-96) and in order not to trespass on anyone’s

property. Mr. Omelchenko - who was not participating in the protest in any way but

was standing near the protesters while filming - made the same diligent and

deliberate efforts described above to comply with pedestrian in the roadway laws


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and refrain from trespassing.

                                          15.

      The street on which the protesters and Mr. Omelchenko were located is a

residential neighborhood street and has no sidewalks, crosswalks, traffic lights or

lanes. The street also has no shoulder and is not a two lane street.

                                          16.

      At all times relevant to this complaint protesters and Mr. Omelchenko were

standing or striding as near as practicable to an outside edge of the roadway.

                                          17.

      Approximately twenty minutes after the protest started police arrived on the

scene. At this time the police did not take any action to interrupt the protest. After

approximately another twenty minutes had elapsed the police announced to the

protesters that they were in violation of the noise ordinance.

                                          18.

      While the protesters were using two small megaphones the noise produced

by chanting and using the megaphones was below the level specified by the noise

ordinance and there was nothing in protesters’ conduct that would lead officers to


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believe that anyone was violating the noise ordinance.

                                         19.

      Despite the fact that protesters were not violating any laws the protesters

briefly paused their chanting after the police announcement and immediately

ceased the operation of the megaphones for the remainder of the protest in order to

comply with the police order. As mentioned above Mr. Omelchenko was not

chanting, using a megaphone or otherwise participating in the protest in any way.

                                         20.

      Soon thereafter, however, the officers stated that protesters were obstructing

traffic and had to leave even though all protesters were as close to the curb as

possible and several cars were able to pass them with no problem whatsoever.

In order to further alleviate any concerns that police may have the protesters started

to walk while chanting as opposed to standing in place.

                                         21.

      After a few minutes of walking back and forth the protesters decided to

leave the area due to police harassment, intimidation and threats of arrest. Around

this time Defendant Floyd gave an order to arrest all protesters.


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                                           22.

      While the protesters were walking away and were clearly in the process of

leaving the area various officers conducted arrests for the crime of Pedestrian in

the Roadway and arrested all protesters.

                                           23.

      Despite the fact that Mr. Omelchenko was not participating in the protest,

was not chanting, but was instead filming the entire time, and despite the fact that

Mr. Omelchenko clearly informed the officers of same – Mr. Omelchenko was

nevertheless arrested by Officer Carl Miller. He was charged with the offense of

Pedestrian in the Roadway (OCGA 40-6-96). Mr. Omelchenko was arrested

because officers believed that he shared the views of the protesters.

                                           24.

     None of the protesters were charged with violation of a noise ordinance.

                                           25.

      During the protest other individuals (presumably neighborhood residents)

were walking in the same street where the protest was taking place but were not


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arrested or harassed by the police because they were not engaged in the first

amendment activity that the protesters were engaged in.

                                         26.

      At some point during the protest the daughter of Councilwoman Archibong

came outside and spoke with the protesters. At no point did the daughter or the

Councilwoman ask the protesters to leave.

                                         27.

      Upon his arrest Plaintiff was transported to City of Atlanta Detention Center.

The prosecution of Plaintiff’s case was transferred from Atlanta Municipal Court to

the State Court of Fulton County. The Fulton County Solicitor’s Office never filed

an accusation in Plaintiff’s case and therefore no criminal prosecution against this

Plaintiff is currently pending. Accordingly – based on this information and belief –

and although the case was never formally dismissed - Plaintiff believes that Fulton

County Solicitor’s Office has decided not to prosecute his case.




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                                 COUNT I
  42 U.S.C. § 1983: Unlawful Seizure in violation of the Fourth Amendment
                    (As to Defendants Miller, and Floyd)

                                        28.

      Paragraphs 1 through 27 are hereby re-alleged as if fully pled herein.

                                        29.

      The conduct of Defendants Miller and Floyd in causing and procuring the

arrest and detention of Plaintiff without arguable probable cause constituted an

unreasonable seizure of his person in violation of the Fourth Amendment.

                                        30.

      The law being clearly established in 2021 that an officer of the state cannot

cause someone to be arrested and prosecuted without arguable probable cause,

Defendants are not entitled to qualified immunity.



                                 COUNT II
      42 U.S.C. § 1983: Malicious Prosecution in violation of the Fourth
                                Amendment
                    (As to Defendants Miller, and Floyd)

                                        31.

      Paragraphs 1 through 27 are hereby re-alleged as if fully pled herein.

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                                           32.

      Defendants Miller and Floyd caused a criminal prosecution to be initiated

against Plaintiff for the offense of pedestrian in the roadway.

                                           33.

      Defendant Miller not only caused the prosecution to be initiated, and arrest

to be executed, but he caused the prosecution to continue based on their arrest

warrant affidavit and police report such that Mr. Omelchenko had to endure a

criminal case which ultimately terminated in his favor. Defendant Floyd is liable

for said prosecution due to his ordering Defendant Miller to initiate the arrest and

prosecution.

                                           34.

      Defendants knew that there was no probable cause to support the charges

against Plaintiff, but they persisted in initiating, participating in, and assisting with

that prosecution despite the complete lack of probable cause.

                                           35.

      Said prosecution was based upon statements by Defendants that were either

knowingly false or made with reckless disregard for the truth.


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                                         36.

      Accordingly, said prosecution was carried on maliciously and without

probable cause, and it was ultimately terminated in Plaintiff’s favor.

                                         37.

      The law being clearly established in 2021 that an officer of the state cannot

knowingly make false statements in order to cause someone to be prosecuted for an

offense that is not supported by probable cause, Defendants are not entitled to

qualified immunity.



                                   COUNT III
                               Municipal Liability
                        (As to Defendant City of Atlanta)

                                         38.

      Paragraphs 1 through 27 are hereby re-alleged as if fully pled herein.

                                         39.

      The City is liable under the Monell doctrine due to its failure to provide

proper training and because there was a decision by a final policy maker to arrest

Mr. Omelchenko or to conduct arrests in cases such as Mr. Omelchenko’s.


                                         13
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                                          40.

      The City has a long history of not adequately training its officers when it

comes to protecting and respecting citizens’ First Amendment rights which

includes violating citizens’ rights to film the police that ultimately resulted in a

contempt order against the City in 2015.

                                          41.

      The City also routinely arrests protesters under the pretext of violating

pedestrian in the roadway laws with numerous instances of such arrests occurring

during 2020 protests, a mass arrest on January 6, 2021 that is the subject of a

pending lawsuit before this Court (Baker v. City of Atlanta et al. 1:21-cv-04186-

MLB) where 19 protesters were corralled and arrested for pedestrian in the

roadway within minutes of starting to protest, and another mass arrest in May of

2022 when a number of Stop Cop City protesters were arrested in Inman Park and

also charged with pedestrian in the roadway. Baker case – much like the present

case - likewise involved an order given by a high ranking officer to arrest all

protesters on the scene. This leads to a conclusion that there is an official policy or

directive by final policy maker(s) within the City of Atlanta to engage in practice


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of arresting protesters under the pretext of violating pedestrian in the roadway laws

and the City – if not deliberately promoting this policy – is at the very least

deliberately indifferent to it.

                                          42.

      Officer Miller also acted pursuant to direct instructions from a final City of

Atlanta policy maker Defendant Floyd.

                                          43.

      By virtue of issuing an order to a large group of officers to “arrest all

members of the group” and by virtue of his rank Defendant Floyd acted as a final

policy maker for the City of Atlanta in the incident at issue in this case.

                                          44.

      The City of Atlanta Police Department Standard Operating Procedure

APD.SOP.2011 specifically Section 4.1.1 provides:

All employees shall be prohibited from interfering with a citizen’s right to record
police activity by photographic, video, or audio means. This prohibition is in
effect as long as the recording by the citizen does not physically interfere with the
performance of the officer’s duties.

      While the City of Atlanta Police Department does have this SOP on the

books it clearly does not respect it which is demonstrated by this case as well as by

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a complaint recently filed in this Court in Watchulonis v. City of Atlanta 1:23-cv-

2204-TCB and the long list of violations of the right to film described therein

which are hereby incorporated by reference.


                                  COUNT IV
                   O.C.G.A. § 51-7-40: Malicious Prosecution
                     (As to Defendants Miller, and Floyd)

                                         45.

      Paragraphs 1 through 27 are hereby re-alleged as if fully pled herein.

                                         46.

      Officers Miller and Floyd initiated a criminal prosecution against Mr.

Omelchenko for a misdemeanor offense, and they knew or should have known that

no arguable probable cause existed to believe that Mr. Omelchenko had violated

any laws or committed any crime recognized by law.

                                         47.

      Officers Miller, and Floyd initiated and maintained the arrest and

prosecution of Mr. Omelchenko with malice, as interpreted under Georgia law.

                                         48.

      This criminal prosecution terminated favorably for Mr. Omelchenko.

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                                         49.

      As a result of the arrest and prosecution, Mr. Omelchenko has suffered

physical, emotional, mental and financial injury, entitling him to recover nominal,

compensatory and punitive damages against Defendant Officers Miller, and Floyd

for the loss of his rights under this claim, in an amount to be determined by the

enlightened conscience of the jury.

                                 COUNT V
    42 U.S.C. § 1983: First Amendment Retaliation in violation of the First
                                 Amendment
                     (As to Defendants Miller, and Floyd)

                                         50.

      Paragraphs 1 through 27 are hereby re-alleged as if fully pled herein.

                                         51.

      Defendants deliberately initiated and or caused arrest and prosecution

against this Plaintiff because Plaintiff exercised his rights to free speech and was

perceived to be a part of a protest. Mr. Omelchenko was targeted for arrest because

he was seen as associated with protesters and their views. Plaintiff Omelchenko

would not have been arrested but for his exercise of his First amendment rights.



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                                         52.

      Defendants’ actions were meant to punish the Plaintiff for his exercise of his

First Amendment rights and to prevent him from further filming by abruptly

cutting him off and arresting him.

                                         53.

      The intentional actions of Defendants in falsely accusing Plaintiff of a

misdemeanor crime interfered with Plaintiff's right of freedom of speech and

expression in violation of the First Amendment to the US Constitution.

                                         54.

      The law being clearly established in 2021 that an officer of the state cannot

make false statements or make an arrest to retaliate against a person for their

exercise of freedom of speech, Defendants are not entitled to qualified immunity.



                                         55.

      Mr. Omelchenko alleges that he was arrested when otherwise similarly

situated individuals not engaged in the same sort of protected speech, expression or

filming had not been arrested. Indeed there were other individuals walking on the


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same street during the protest that were not arrested because they were not engaged

in speech.

                                        56.

      Mr. Omelchenko alleges that no person has been arrested for being a

Pedestrian in the Roadway when they were not engaged in the type of protected

First Amendment activity Mr. Omelchenko was engaged in.

                                        57.

      Had Mr. Omelchenko not been perceived as protesting or had he not been

filming Officers Miller, and Floyd would not have arrested him. This is evidenced

by the common knowledge that officers typically exercise their discretion not to

arrest in cases of jaywalking even when probable cause is present. Mr.

Omelchenko asks that the Court take judicial notice of same or allow Mr.

Omelchenko to gather evidence of such typical exercise of discretion during

discovery. Mr. Omelchenko alleges that Officer Miller had no arguable probable

cause to arrest him for any crime and nothing in this complaint should be construed

as an admission or allegation that arguable probable cause existed for any crime.




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                                         58.

      Retaliatory motive is further evidenced by the fact that Defendant Floyd

ordered the arrest of all members of the group without regard for what any

individual member was doing.



                                  COUNT VI
42 U.S.C. § 1983: Violation of the First Amendment Right to film in violation
                           of the First Amendment
                    (As to Defendants Miller, and Floyd)

                                         59.

      Paragraphs 1 through 27 are hereby re-alleged as if fully pled herein.

                                         60.

      Defendants Miller and Floyd arrested Mr. Omelchenko because he was

exercising his First Amendment right to film.

                                         61.

      The law being clearly established in 2021 that an individual has a First

Amendment protected right to film the police and to be free from police

interference with this right, Defendants are not entitled to qualified immunity.



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                                    DAMAGES

                                         62.

      Paragraphs 1 through 61 are hereby re-alleged as if fully pled herein.

                                         63.

      As a direct and proximate result of the above described conduct of

Defendants, Plaintiff was unreasonably and unlawfully arrested and prosecuted

without probable cause and as a retaliation for exercising his First Amendment

rights, was imprisoned and deprived of his liberty, was subjected to physical

restraint, confinement, and mental suffering and emotional distress that is expected

to continue into the future, and was forced to incur other economic and non-

economic losses for which Defendants are liable to Plaintiff in an amount to be

proven at trial and determined by the enlightened conscience of fair and impartial

jurors.

                                         64.

      The aforementioned misconduct of Defendants rose to such a level of bad

faith, willfulness, and reckless disregard as to authorize the imposition of punitive

damages against each one of them.


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                                           65.

       Plaintiff is also entitled to recover reasonable attorney's fees and expenses of

litigation pursuant to 28 U.S.C. §1988.



       WHEREFORE, Plaintiff demands the following:

       a) That this action be tried by a jury;

       b) That judgment be entered in favor of Plaintiff and against each Defendant

for nominal, special, compensatory and punitive damages for each violation of the

Plaintiff's constitutional rights in an amount to be determined by the enlightened

conscience of fair and impartial jurors;

       c) That Plaintiff be awarded attorney's fees and reasonable expenses of

litigation;

       e) That all costs of this action be taxed against Defendants; and

       f) That the Court award any additional or alternative relief as may be deemed

appropriate under the circumstances.

       Respectfully submitted this 8th day of September 2023.

                                                 /s/Drago Cepar, Jr.
                                                 Drago Cepar, Jr.

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                                    Georgia Bar No. 142362
1900 The Exchange, Suite 490
Atlanta, Georgia 30339
Phone: 770-940-3233
Fax: 770-874-2987
dcepar@gmail.com




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